                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )       Case No. DNCW3:09CR211-3
               vs.                                   )       (Financial Litigation Unit)
                                                     )
MITCHELL KEITH KLEINMAN.                             )

                                      WRIT OF EXECUTION

TO NATIONAL FINANCIAL SERVICES, LLC.:

       A judgment was entered on January 12, 2011, in the United States District Court for the

Western District of North Carolina, in favor of the United States of America and against the

defendant, Mitchell Keith Kleinman, whose last known address is XXXXXXXXXXXXXXXX,

Newport Beach, CA, 92660, in the sum of $2,202,079.40. The balance on the account as of May

18, 2011, is $2,123,637.52.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and National Financial Services, LLC. is commanded to turn over property in which the defendant,

Mitchell Keith Kleinman, has a substantial nonexempt interest, the said property being funds located

in National Financial Services, LLC. accounts including, but not limited to, Individual Retirement

Accounts (IRAs) and joint trust accounts, in the name of Mitchell Keith Kleinman, at the following

address: National Financial Services, LLC., PO Box 770001, Cincinnati, OH 45277-0031,

Attention: Risk Ops Prep-Court Order.


                                                 Signed: May 24, 2011




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